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January 8, 2018

 

 

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Honorable Denise L. Cote . §§:W,:]:§§l _
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Re: Alpine Securities Cor'poratr.'on adv. Um'ted States Securiti`es and Exchange Comm.
Civil No. 1:17~cv-04179-DLC

STIPULATEI) LETTER MOTION REOUESTING AN EXTENSION
TO THE BRIEFING SCHEDULE FOR DISPOSITIVE MOTIONS

Dear Judge Cote:

This letter is being jointly filed by Defendant Alpine Seeurities Corporation (“Alpine”)
and Piaintiff Seeurities and Exohange Commission (“SEC”) to request an extension to the
briefing schedule for dispositive motions. Alpine is requesting an additional week to file an
opposition to the SEC’s Motion f`or Partial Summary Judgment and Cross-Motion for Surnmary
Judgment. The SEC’s is requesting an additional Weel< to file its Reply Memorandum in Support
of its Motion for Partial Surnmary Judgrnent and opposition to Alpine’s Cross-Motion for
Surnrnary ludgment. The final deadline for Alpine’s Reply Memorandum is adjusted
accordingly

Pursuant to the Court’s ludividual Praetices 1.E:

1. The original due date f`or Alpine’s opposition to the SEC’s Motion for Partial
Surnrnary Judgment and Cross-Motion for Sumrnary Judgment is January 12, 2018,
and the original due date of the SEC’s Reply Mernorandum in Support of its Motion
for Partial Summary Judgment and opposition to Alpine’s Cross-l\/lotion for
Surnmary Judgment is January 26, 2018.

2. This is Alpine’s first request for an extension and the SEC’s second request

 

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3. The SEC’s first request for an extension to file its Motion for Pai'tial Summary
Judgrnent Was granted.

4. Both parties stipulate to the briefing schedule below.

If the extension is gl'anted, the briefing schedule for dispositive motions Will be as
follows:

1. Alpine may file an opposition to the SEC’s Motion for Partial Summary Judgment
and a Cross~Motion for Summary Judgment on or before January 19, 2018.

2. The SEC may file a Reply Memorandum in Support of its i\/Iotion for Partia]
Summary ludgment and an opposition to Alpine’s Cross-Motion for Summary
Judgment on or before Pebruary 9, 2018.

3. Alpine may file a Reply Memorandum in Support of its Cross-l\/[otion for Summary
Judgment on or before February 26, 2018.

A trial date has not been set in this matter and the above extensions to the briefing
schedule Will not affect any other scheduled dates in this ease. Accordingly, the parties
respectfully request that the Court approve an extension of time as requested herein.

Respectfully submitted,

i /s/ Zachart) T. Carh)ie
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' ' " Terry R. Miller (pro hac vice)
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/s/ Brent R. Baker

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